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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISTION

Kevin L. McNulty, individually and on       )
behalf of all others similarly situated,    )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )       No. 10 C 7576
                                            )
Creditors Financial Group, LLC, a           )
New York limited liability company,         )
                                            )
       Defendant.                           )       Jury Demanded

                               CLASS ACTION COMPLAINT

       Plaintiff, Kevin L. McNulty, individually and on behalf of all others similarly

situated, brings this action under the Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. ("FDCPA"), for a finding that the form of Defendant’s debt collection letter

violates the FDCPA, and to recover damages for Defendant’s violations of the FDCPA,

and alleges:

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) the acts and transactions

occurred here; b) Plaintiff resides here; and, c) Defendant resides and transacts

business here.

                                           PARTIES

       3.      Plaintiff, Kevin L. McNulty ("McNulty"), is a citizen of the State of Illinois,

residing in the Northern District of Illinois, from whom Defendant attempted to collect a

delinquent consumer debt that was owed originally to Citibank.
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       4.     Defendant, Creditors Financial Group, LLC (“CFG”), is a New York limited

liability company that acts as a debt collector, as defined by § 1692a of the FDCPA,

because it regularly uses the mails and/or the telephone to collect, or attempt to collect,

directly or indirectly, delinquent consumer debts, including delinquent consumer debts in

the Northern District of Illinois. In fact, CFG was acting as a debt collector as to the

delinquent consumer debt it attempted to collect from Mr. McNulty.

       5.     Defendant CFG is licensed to conduct business in Illinois and maintains a

registered agent here, see, record from the Illinois Secretary of State attached as

Exhibit A. In fact, CFG conducts business in Illinois.

       6.     Defendant CFG is licensed to act as a collection agency in Illinois, see,

record from the Illinois Division of Professional Regulation attached as Exhibit B. In

fact, CFG acts as a collection agency in Illinois.

                                FACTUAL ALLEGATIONS

       7.     At some time after Mr. McNulty’s Citibank debt became delinquent, it was

purchased by a bad debt buyer who then hired Defendant CFG to collect it.

Accordingly, Defendant CFG then sent Mr. McNulty an initial form collection letter, dated

August 23, 2010, which demanded payment of the Citibank debt from Mr. McNulty.

This letter stated, in pertinent part, that the debt at issue was “Your Account with our

client RESURGENT CAPITAL SERVICES L.P.”, but then stated that the account was

with “Owner: LVNV Funding, LLC”.

       8.      The letter failed to explain what, if any, the relationship was between

Resurgent Capital Services, L.P., and LVNV Funding, LLC, or who the current creditor

is. A copy of this letter is attached as Exhibit C.

       9.     All of Defendant CFG’s collection actions at issue in this matter occurred

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within one year of the date of this Complaint.

       10.    Defendant CFG’s collection communications are to be interpreted under

the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                        COUNT I
                               Violation Of § 1692g(a)(2)
          Failure To Identify Effectively The Name Of The Current Creditor

       11.    Plaintiff adopts and realleges ¶¶ 1-10.

       12.    Section 1692g of the FDCPA requires that, within 5 days of Defendant

CFG’s first communication to a consumer, it must provide consumers with an effective

validation notice, containing, among other disclosures, “(2) the name of the creditor to

whom the debt is owed;”, see, 15 U.S.C. § 1692g(a)(2).

       13.    Defendant CFG’s August 23, 2010,form collection letter (Exhibit C), was

its first communication with Mr. McNulty; the letter, however, fails to identify effectively

the name of the current creditor, and Defendant CFG did not provide that information

within five days of this initial communication. Defendant CFG’s form collection letter

(Exhibit C), thus violates § 1692g(2) of the FDCPA.

       14.    Defendant CFG’s violation of § 1692g of the FDCPA renders it liable for

statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                        COUNT II
                         Violation Of § 1692e Of The FDCPA --
                                    False Statement

       15.    Plaintiff adopts and realleges ¶¶ 1-10.

       16.    Section 1692e of the FDCPA prohibits a debt collector from using any

false, deceptive or misleading representation or means in connection with the collection

of a debt. Defendant violated § 1692e of the FDCPA by stating that Mr. McNulty had an

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account with Resurgent when, in fact, Resurgent Capital owns no accounts: rather, the

account was likely actually with its sister company, LVNV Funding.

       17.    Defendant's violation of § 1692e of the FDCPA renders it liable for

statutory damages, costs and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                  CLASS ALLEGATIONS

       18.    Plaintiff, Kevin L. McNulty, brings this action individually and as a class

action on behalf of all persons similarly situated in the State of Illinois from whom

Defendant attempted to collect a delinquent consumer debt allegedly owed originally to

Citibank, but now allegedly owed to Resurgent Capital and/or LVNV Funding, from one

year before the date of this Complaint to the present, via the same form collection letter

Defendant CFG sent to Mr. McNulty (Exhibit C). This action seeks a finding that

Defendant CFG’s form collection letter violates the FDCPA, and asks that the Court

award damages as authorized by § 1692k(a)(2) of the FDCPA.

       19.    Defendant CFG regularly engages in debt collection, using the same form

collection letter it sent Plaintiff McNulty, in its attempts to collect from other consumers.

       20.    The Class consists of more than 35 persons from whom Defendant

CFG attempted to collect delinquent consumer debts by sending other consumers the

same form collection letter it sent Plaintiff McNulty.

       21.    Plaintiff McNulty’s claims are typical of the claims of the Class. Common

questions of law or fact raised by this class action complaint affect all members of the

Class and predominate over any individual issues. Common relief is therefore sought

on behalf of all members of the Class. This class action is superior to other available

methods for the fair and efficient adjudication of this controversy.

       22.    The prosecution of separate actions by individual members of the Class

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would create a risk of inconsistent or varying adjudications with respect to the individual

members of the Class, and a risk that any adjudications with respect to individual

members of the Class would, as a practical matter, either be dispositive of the interests

of other members of the Class not party to the adjudication, or substantially impair or

impede their ability to protect their interests. Defendant CFG has acted in a manner

applicable to the Class as a whole such that declaratory relief is warranted.

       23.    Plaintiff McNulty will fairly and adequately protect and represent the

interests of the Class. The management of the class action proposed is not

extraordinarily difficult, and the factual and legal issues raised by this class action

complaint will not require extended contact with the members of the Class, because

Defendant’s conduct was perpetrated on all members of the Class and will be

established by common proof. Moreover, Plaintiff McNulty has retained counsel

experienced in class action litigation, including class actions brought under the FDCPA.

                                   PRAYER FOR RELIEF

       Plaintiff, Kevin L. McNulty, individually and on behalf of all others similarly

situated, prays that this Court:

       1.     Certify this action as a class action;

       2.     Appoint Plaintiff McNulty as Class Representative of the Class, and his

attorneys as Class Counsel;

       3.     Find that Defendant CFG’s form collection letter violates the FDCPA;

       4.     Enter judgment in favor of Plaintiff McNulty and the Class, and against

Defendant, for statutory damages, costs, and reasonable attorneys’ fees as provided by

§ 1692k(a) of the FDCPA; and,

       5.     Grant such further relief as deemed just.

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                                      JURY DEMAND

       Plaintiff, Kevin L. McNulty, individually and on behalf of all others similarly

situated, demands trial by jury.

                                                     Kevin L. McNulty, individually and on
                                                     behalf of all others similarly situated,

                                                     By: /s/ David J. Philipps _________
                                                     One of Plaintiff's Attorneys

Dated: November 24, 2010

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